    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK
                                                          X
                                                          :
    UNITED STATES OF AMERICA,                             :
                                                          :    ORDER
                                                          :
                  -against-                               :    22 Cr. 240 (AKH)
                                                          :
                                                          :
    SUNG KOOK (BILL) HWANG and PATRICK                    :
    HALLIGAN,
                                                          :
                                       Defendants.        :
                                                          :


 ALVIN K. HELLERSTEIN, U.S.D.J.:

         The start of trial in the above-captioned case is adjourned to May 6, 2024 at 10:00 a.m.

The final pre-trial conference is adjourned to April 16, 2024 at 2:30 p.m. The parties shall

submit a reworked calendar of dates for pre-trial motions and hearings to the Court in

accordance with this new timeline. Additionally, the conference set for January 23, 2024 is

adjourned to February 7, 2024 at 11:00 a.m. In the interest of justice, time is excluded until the

start of trial.

         The Defendants’ motion for a jury questionnaire, ECF No. 129, is denied. Moreover, the

Defendants’ joint motion to dismiss Count 11 of the Indictment, ECF No. 124, is denied as moot

due to the superseding indictment filed by the Government.

         My order dated January 16, 2024, ECF No. 122, is vacated, and the Clerk of Court shall

terminate ECF No. 133, the Defense’s motion for trial adjournment.
                  SO ORDERED.

Dated:            January 22, 2024                    ___/s/ Alvin K. Hellerstein___
                  New York, New York                  ALVIN K. HELLERSTEIN
                                                      United States District Judge
